           Case 16-09512-RLM-7                Doc 7       Filed 12/23/16          EOD 12/24/16 00:33:39               Pg 1 of 3
                                               United States Bankruptcy Court
                                               Southern District of Indiana
In re:                                                                                                     Case No. 16-09512-RLM
Eddie Wayne Hutchison                                                                                      Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0756-1                  User: admin                        Page 1 of 1                          Date Rcvd: Dec 21, 2016
                                      Form ID: b309a                     Total Noticed: 17


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Dec 23, 2016.
db             +Eddie Wayne Hutchison,    2510 Pleasant Way West,   Indianapolis, IN 46280-1861
14188140        Barclay Card Financing,    PO Box 8801,   Wilmington, DE 19899-8801
14188142       +Carmax Auto Finance,    225 Chastain Meadows Court,    Kennesaw, GA 30144-5897
14188144       +Courtney Scott,   Office of the Attorney General,     302 West Washington St., 5th Floor,
                 Indianapolis, IN 46204-4701
14188147        First National Bank of Omaha,    PO Box 3331,   Omaha, NE 68103-0331
14188150        PNC Bank,   PO Box 3180,    Pittsburgh, PA 15230-3180
14188152       +U.S. Attorney&#39;s Office,    10 West Market Street, Suite 2100,    Indianapolis, IN 46204-1986

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
aty             E-mail/Text: bankruptcybrian@gmail.com Dec 21 2016 22:41:17       Brian Daniel Schellenberg,
                 Bankruptcy Law Offices of Jon Brown,    23 South 8th Street,    Suite 50,
                 Noblesville, IN 46060
tr              EDI: BJJPETR.COM Dec 21 2016 22:04:00      John J. Petr,    Office of John J. Petr,
                 111 Monument Cir Ste 900,   Indianapolis, IN 46204-5125
ust            +E-mail/Text: ustpregion10.in.ecf@usdoj.gov Dec 21 2016 22:41:54        U.S. Trustee,
                 Office of U.S. Trustee,   101 W. Ohio St.. Ste. 1000,     Indianapolis, IN 46204-1982
14188141        EDI: CAPITALONE.COM Dec 21 2016 22:04:00      Capital One,    PO Box 30285,
                 Salt Lake City, UT 84130-0285
14188143        EDI: CHASE.COM Dec 21 2016 22:04:00      Chase,    Attn: Bankruptcy,    PO BOX 15145,
                 Wilmington, DE 19850-5145
14188145       +EDI: RCSFNBMARIN.COM Dec 21 2016 22:04:00       Credit One Bank,   P.O. Box 60500,
                 City of Industry, CA 91716-0500
14188146        EDI: DISCOVER.COM Dec 21 2016 22:04:00      Discover Card,    PO Box 30421,
                 Salt Lake City, UT 84130-0421
14188148       +E-mail/PDF: DORBANKRUPTCYCOURTNOTICES@DOR.IN.GOV Dec 21 2016 22:48:22
                 Indiana Department of Revenue,    100 N. Senate Avenue,    Room N203-Bankruptcy,
                 Indianapolis, IN 46204-2253
14188149        EDI: IRS.COM Dec 21 2016 22:04:00      Internal Revenue Service,     PO BOX 7346,
                 Philadelphia, PA 19101-7346
14188151       +EDI: RMSC.COM Dec 21 2016 22:04:00      Synchrony Bank,    PO Box 965036,
                 Orlando, FL 32896-5036
                                                                                               TOTAL: 10

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Dec 23, 2016                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on December 21, 2016 at the address(es) listed below:
              Brian Daniel Schellenberg   on behalf of Debtor Eddie Wayne Hutchison bankruptcybrian@gmail.com
              John J. Petr   petrtrustee@kgrlaw.com, IN28@ecfcbis.com
              U.S. Trustee   ustpregion10.in.ecf@usdoj.gov
                                                                                            TOTAL: 3
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 Information to identify the case:
 Debtor             Eddie Wayne Hutchison                                        Social Security number or ITIN     xxx−xx−5432
                    Name                                                         EIN    _ _−_ _ _ _ _ _ _
 United States Bankruptcy Court − Southern District of Indiana
                                                                                 Date case filed for chapter 7:   December 19, 2016
 Case number:        16−09512−RLM−7


Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                                    12/2015

For the debtor listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has been
entered.

This notice has important information about the case for creditors, the debtor, and trustees, including information
about the meeting of creditors and deadlines. Read both pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtor or the debtor's property. For example, while the stay is in effect, creditors cannot sue,
garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtor. Creditors cannot demand
repayment from the debtor by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although the debtor can ask the court to extend or impose a stay.

The debtor is seeking a discharge. Creditors who assert that the debtor is not entitled to a discharge or who want a debt
excepted from discharge may be required to file a complaint within the deadlines specified in this notice. (See "Deadlines"
section for more information.)

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records) at pacer.insb.uscourts.gov.

                                 The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify the debtor on this case, the debtor must submit a full Social Security or Individual
Taxpayer Identification Numbers, which may appear on a version of this notice. However, the full numbers must not
appear on any document filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.

1. Debtor's full name                  Eddie Wayne Hutchison
2. Other names                         None
     (used in last 8 years)
3. Address                             2510 Pleasant Way West
                                       Indianapolis, IN 46280
4. Debtor's attorney                   Brian Daniel Schellenberg                              Contact info: 317−773−4300 or
     Name and address                  23 South 8th Street                                    bankruptcybrian@gmail.com
                                       Suite 50
                                       Noblesville, IN 46060
5. Bankruptcy trustee                  John J. Petr                                           Contact info: 317−692−9000 or
     Name and address                  Office of John J. Petr                                 petrtrustee@kgrlaw.com
                                       111 Monument Cir Ste 900
                                       Indianapolis, IN 46204−5125
                                                                                                            For more information, see page 2 >




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Debtor Eddie Wayne Hutchison                                                                                              Case number 16−09512−RLM−7

6. Bankruptcy clerk's office United States Bankruptcy Court                                                Open weekdays 8:30 AM − 4:30 PM ET
   Documents in this case may be     Southern District of Indiana
   filed at this address or          46 E. Ohio St., Rm. 116                                               Contact info: 317−229−3800
   ecf.insb.uscourts.gov. You may
   inspect all records filed in this Indianapolis, IN 46204
     case at this office or
     pacer.insb.uscourts.gov.
7. Meeting of creditors                   January 24, 2017 at 11:30 AM EST                                 Location:
     The debtor must attend the                                                                            Rm. 416A U.S. Courthouse
     meeting to be questioned under       The debtor MUST provide picture identification and               46 E. Ohio St.
     oath. Creditors may attend but       proof of social security number to the trustee at the
     are not required to do so. If the    meeting of creditors. Failure to do so may result in the case
                                                                                                           Indianapolis, IN 46204
     meeting is continued or              being dismissed. Language interpretation of the meeting of
     adjourned to a later date, the       creditors will be provided to the debtor at no cost through a
     date will be on the court docket.    telephone interpreter service upon request made to the
                                          trustee. These services may not be available at all locations.
8. Presumption of abuse                   The presumption of abuse does not arise.
     If the presumption of abuse
     arises, you may have the right to
     file a motion to dismiss the case
     under 11 U.S.C. § 707(b). The
     debtor may rebut the
     presumption by showing special
     circumstances.
9. Deadlines                              Deadline to object to discharge or challenge
     The bankruptcy clerk's office        whether certain debts are dischargeable:                         March 27, 2017
     must receive these documents
     and any required filing fee by the   You must file a complaint by the deadline:                       You must file a motion by the deadline:
     following deadlines.                 • if you assert that the debtor is not entitled to a             • if you assert that the discharge should be
                                            discharge under 11 U.S.C. § 727(a)(2)−(7) or                     denied under 11 U.S.C. § 727(a)(8) or
                                                                                                             (9).
                                          • if you want a debt excepted from the discharge
                                            under 11 U.S.C. § 523(a)(2), (4), or (6).

                                          Objection to exemptions:
                                          The law permits the debtor to keep certain property as exempt. If you believe the law does not
                                          authorize an exemption claimed by the debtor, you may file an objection no later than 30
                                          days after the meeting of creditors concludes.
10. Proof of claim                        No property appears to be available to pay creditors. Therefore, please do not file a proof of
     Do not file a proof of claim         claim now. If it later appears that assets are available to pay creditors, the clerk will send you
     unless you receive a notice to do    another notice telling you that you may file a proof of claim and stating the deadline.
     so.
11. Creditors with a foreign              If you are a creditor receiving a notice mailed to a foreign address, you may file a motion
    address                               asking the court to extend the deadlines in this notice. Consult an attorney familiar with United
                                          States bankruptcy law if you have a question about your rights in this case.
12. Exempt property                       The law allows the debtor to keep certain property as exempt. Fully exempt property will not
                                          be sold and distributed to creditors. The debtor must file a list of property claimed as exempt.
                                          You may inspect that list at the bankruptcy clerk's office or pacer.insb.uscourts.gov. If you
                                          believe the law does not authorize an exemption claimed by the debtor, you may file an
                                          objection no later than 30 days after the meeting of creditors concludes.
13. Abandoment of property                Pursuant to S.D.Ind. B−6007−1, a trustee's report of no distribution serves as a notice
                                          proposing the abandonment of all property from the estate. No further notice of the
                                          abandonment will be given unless a party in interest files a request for further notice of
                                          abandonment no later than one day before the first date set for the 341 meeting. Any party
                                          filing such a request will be given notice upon filing of the report of no distribution and have 14
                                          days to object to the abandonment.




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